Case 1:05-cr-00031-MR-WCM   Document 113   Filed 05/15/06   Page 1 of 6
Case 1:05-cr-00031-MR-WCM   Document 113   Filed 05/15/06   Page 2 of 6
Case 1:05-cr-00031-MR-WCM   Document 113   Filed 05/15/06   Page 3 of 6
Case 1:05-cr-00031-MR-WCM   Document 113   Filed 05/15/06   Page 4 of 6
Case 1:05-cr-00031-MR-WCM   Document 113   Filed 05/15/06   Page 5 of 6
Case 1:05-cr-00031-MR-WCM   Document 113   Filed 05/15/06   Page 6 of 6
